
Per Curiam.
We amerced this same sheriff but a short time since (a) for having made a similar return of a general seizure of household goods. It is the duty of the sheriff to specify particularly what has been seized, that the party may-see that they have all been fairly sold.
As to the former execution and levy, we must observe, that after the sheriff has made a seizure of the property, and the return has been filed, he cannot be admitted to say his own proceedings were irregular and illegal, and that he acted without authority; he is bound by his return.
With regard to the act of assembly under which these proceedings are had against the sheriff, it is clearly remedial and not penal, and must be liberally expounded. The late sheriff' is equally liable with one actually in office.
But as an amercement is for the use of the plaintiff and is in lieu of his debt, it is in the nature of a civil actionj and as in this case he has elected to take out a ca. sa. which has been executed, this amounts to a satisfaction. He has made Ms election and the sheriff cannot be amerced.
Ruie DISCHARGED.

 Note. — See Watson v. Hoel ante.

